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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA )(
                         )(                         Criminal No. 21-204 (BAH)
           v.            )(                         Chief Judge Howell
                         )(                         Sentencing: October 21, 2022
   MATTHEW BLEDSOE       )(


 RESPONSE TO GOVERNMENT’S SENTENCING MEMORANDUM
       COMES NOW the defendant, Matthew Bledsoe, by and through undersigned
counsel, and respectfully responds to the Government’s Sentencing Memorandum.
Towards this end, Mr. Bledsoe would show:


                                 U.S.S.G. § 2J1.2(b)(1)(B)
       In its Presentence Investigation Report (ECF #226) (PSR), the Probation Office has
determined that Mr. Bledsoe’s Total Offense Level is 27. PSR ¶ 52. In reaching this
number, the Probation Office adds 8 points to Mr. Bledsoe’s Offense Level by applying
U.S.S.G. § 2J1.2(b)(1)(B). PSR ¶ 44. The government concurs with the Probation’s
Office’s determinations at to Mr. Bledsoe’s Total Offense Level, including its

determination regarding the applicability of § 2J1.2(b)(1)(B). Government’s Sentencing
Memorandum (ECF # 228) (Gov’t Memo) at 17-19. The government concurs with the
Probation Office’s application of the 8-point enhancement to Mr. Bledsoe’s Offense Level
under U.S.S.G. § 2J1.2(b)(1)(B) despite acknowledging that the Probation Office’s
claimed factual predicate for applying this enhancement does not exist. The Probation
Office maintains that the enhancement applies “[b]ecause the offense involves causing or
threatening to cause physical injury to a person [to wit: the defendant, while inside the US
Capitol, called out the name of the Speaker of the House of Representatives Nancy Pelosi,
specifically targeting her, among others] in order to obstruct the administration of justice.”


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PSR ¶ 44 (brackets and bracketed language in the original). In its sentencing
memorandum, however, the government acknowledges that Mr. Bledsoe never called out
the name of the Speaker Pelosi.1 Gov’t Memo at 9.
        Mr. Bledsoe has zero Criminal History Points, and he is in Criminal History

Category I. See PSR ¶57. At Offense Level 27, his Guidelines range is 70-87 months.
See PSR ¶ 101. The government is asking the Court to give Mr. Bledsoe a sentence of 70-
months incarceration. Gov’t Memo at 3, 65. In doing this, the government is asking the
Court to sentence Mr. Bledsoe at the low end of a Guidelines range applicable to an
Offense Level that has been determined based upon a factual claim that even the
government acknowledges is wrong. Without the application of the 8-point enhancement
under U.S.S.G. § 2J1.2(b)(1)(B), Mr. Bledsoe’s Total Offense Level would obviously
come down to 19. As Mr. Bledsoe points out in Memorandum in Aid of Sentencing (ECF
#229) (Defendant’s Memo), his correctly determined Total Offense Level is actually lower
than this. See Defendant’s Memo at 11-20. However, even if Mr. Bledsoe’s Total Offense
Level were 19, his Guidelines range would still only be 30-37 months. Thus, in asking the
Court to sentence Mr. Bledsoe in compliance with a Guidelines range that would be

applicable to him if his Total Offense Level were 27, the government is making use of a
factual determination that even it acknowledges is wrong, to ask the Court to sentence him

within a Guidelines range that is more than double the one that would otherwise apply.
        At this point, it should again be acknowledged that, though Mr. Bledsoe never
called out the name of Speaker Pelosi, he was at least briefly in the vicinity of people who
did. See Defendant’s Memo at 14-15. However, that others in Mr. Bledsoe’s vicinity may
have called out the Speaker’s name is still not something that he can be held accountable
for so as to warrant applying 18 U.S.S.G. 2J1.2(b)(1(B) to his Offense Level. At Mr.
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  It is perhaps worthwhile to note here that, though the PSR states that, by calling out the name of Speaker
Pelosi, Mr. Bledsoe was “specifically targeting her, among others,” (PSR ¶44) (emphasis added), it makes no
sense that any such alleged conduct by Mr. Bledsoe could be viewed as specifically targeting anyone but
Speaker Pelosi. Beyond this, of course, the fact remains that Mr. Bledsoe never called out the Speaker’s
name in the first place


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Bledsoe’s trial, the only evidence that showed anyone calling the name of Speaker Pelosi
came from a video recording that the government presented. The recording was made by
someone who was in the Capitol around the same time that Mr. Bledsoe was. The
recording has an audio component. The portion of the recording that was introduced at

trial shows that, as the person who made the recording was climbing a staircase inside the
Capitol, people who were climbing the staircase with him began to spontaneously chant
the name “Nancy” for approximately 20 seconds. During this time, the person pans his
camera to look down the staircase to the crowded foyer area at the base of the staircase.
Mr. Bledsoe is in this crowd. The video captures him for approximately 15 seconds. He is
not involved in any chanting, and he is also not advancing while the chanting is occurring.
When the camera first captures Mr. Bledsoe, he is facing towards the staircase (and the
camera). However, as the camera is panning away from him, he turns around so that his
back is to the staircase (and the camera). Especially given this, that people on the staircase
spontaneously began chanting the name “Nancy” as they ascended is not conduct that can
be attributed to Mr. Bledsoe under § 2J1.2(b)(1)(B). See Rosemond v. United States, 134
S.Ct. 1240, 1250-51 (2014) (where evidence did not show that drug-trafficking defendant

was aware his accomplice was armed at time defendant associated himself with drug-
trafficking venture, he could not be held liable on an aiding-and-abetting theory for the fact

that, during the venture, his accomplice took out a firearm and used it).


                  The Government’s Request for a 70-Month Sentence
       As already noted, the government is asking the Court to give Mr. Bledsoe a
sentence of 70 months incarceration. See supra at 2. Undersigned counsel is aware of only
four other January 6 defendants who have received sentences greater than 70 months.
These are Guy Reffitt (21-cr-32 (DLF)), Thomas Robertson, (21-cr-34 (CRC)), Thomas
Webster (21-cr-208 (APM)), and Kyle Young, (21-cr-291 (ABJ)). Mr. Reffitt went to trial
and received a sentence of 87 months. Judgment for Reffitt (ECF #170) at 3. Mr.

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Robertson went to trial and also received a sentence of 87 months. Judgment for
Robertson (ECF #140) at 3. Mr. Webster went to trial received a sentence of 120 months.
Judgment for Webster (ECF #110) at 3. And Mr. Young pled guilty and received a
sentence of received of 86 months. Judgment for Young (ECF # 149) at 2. Thus, in asking

for a sentence of 70 months for Mr. Bledsoe, the government appears to be asking that he
be given the fifth harshest sentence to date for a January 6 defendant—this for a man who
did not organize or incite others to storm the Capitol, did not pre-plan to storm the Capitol
himself, did not pre-plan for any violence, was only in the building for 22 minutes, did not
assault any police officers or confront any police officers, did not participate in any
assaults on or confrontations with police officers, was not even present when others were
assaulting or confronting police officers, did not destroy any property or break through any
doors or windows, was not even present when others were destroying property or breaking
through any doors or windows, took no leadership role in connection with the events of
January 6, did not coordinate his activities with any others on January 6, and did not
destroy or even attempt to destroy any evidence after the events of that day
       In regards to the four sentences that have been handed out that are greater than the

70- month sentence the government is seeking for Mr. Bledsoe, the sentence given to Mr.
Webster (120 months) is significantly greater, but the sentences given to Mr. Reffitt (87

months), Mr. Robertson (87 months), and Mr. Young (86 months) are not all that much
greater. Mr. Young was given his sentence after pleading guilty, but like Mr. Bledsoe, Mr.
Reffitt and Mr. Robertson both went to trial. A review of the conduct that Mr. Reffitt and
Mr. Robertson engaged in bears out how extraordinarily severe the government’s request
for a 70-month sentence for Mr. Bledsoe is.
       According to the Government’s Sentencing Memorandum for Guy Reffitt,
(ECF#158), Mr. Reffitt traveled from Texas to D.C. to a participate in the events of
January 6 and brought with him “an AR-15-style semi-automatic rifle and a Smith &
Wesson .40 caliber handgun.” Government’s Sentencing Memorandum at 5. Further, he

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recruited another individual to come with him who also brought “his own handgun and
AR-15 rifle on the trip.” Id. at 6. On January 6, Mr. Reffitt brought his handgun with him
to the Capitol while wearing “a tactical helmet and bulletproof armor.” Id. at 5. The vest
was capable of stopping rifle rounds. Id. at 6. His companion also wore bullet-proof

plates that Mr. Reffitt help him secure to his shoulders and chest. Id. Also, Mr. Reffitt
brought “police-style flexicuffs” with him to the Capitol on January 6. Id. at 5. In going to
the Capitol on January 6, Mr. Reffitt “did not intend to simply obstruct Congress’
certification of the Electoral College vote. Rather, [he] intended to physically remove
legislators from the building (using his firearm and flexicuffs, and the power of the crowd)
and actually ‘take over’ Congress.” Id. at 10. Mr. Reffitt had a leadership role in the
Texas Three Percenters [TTP] militia group, id. at 7, and he “used his membership in the
Texas Three Percenters and other militia groups to encourage others to follow his lead to
violently attack the Capitol,” id. at 8. For instance, while attending the rally at the White
House Ellipse on January 6, Mr. Reffitt, citing his membership in the TTP, the Oath
Keepers, and other militia groups, actively riled up others in attendance, repeatedly
encouraging people to storm the Capitol, engage in violence against congressmen, and

remove them by force from the building. Id. at 8-11. Once he got to the Capitol, Mr.
Reffitt rushed U.S. Capitol Police Officers on stairs on the west side of the building. The

officers tried unsuccessfully to repel him with non-lethal projectiles. While rushing the
officers, Mr. Reffitt encouraged others to charge forward with him, and as a group, he and
the others were able to overwhelm the officers and gain access to the Upper West Terrace
of the building. This led directly to the breach of the building near the Senate Wing door
(the initial breach of the building). Id. at 5-6. In the immediate aftermath of January 6,
Mr. Reffitt threatened to take the building again, id. at12, and he indicated that the events
of January 6 were a “preface” of political violence to come, id. at 14. He also attempted to
recruit two other persons whom he had apparently met on January 6 to engage in further
armed political violence against “California, Big Tech, and MSM [mainstream media].”

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Id. a 12-13. Further, he attempted to recruit fellow TTP members to also engage in such
violence. Id. at 14-16. After January 6, Mr. Reffitt deleted incriminating text messages he
had sent about his plans to engage in violence that day. Id. at 6-7. He threatened to shoot
his two teenage children if they turned him into the FBI. Id. at 7. When the police

searched his house on January 16, 2021, they found three firearms, including the AR-15-
style rifle he brought with him to D.C. for January 6 and the handgun he had on him when
he actually stormed the Capitol that day. In addition to the three firearms, they also found
an illegal silencer. Id. at 18.
        According to the United States’ Sentencing Memorandum for Thomas Robertson
(ECF #124), in the lead-up to January 6, Mr. Robertson, an Army veteran and a current
police officer with the Rocky Mount, Virginia Police Department, advocated on social
media for an armed, violent rebellion to overthrow the presidential election results. United
States’ Sentencing Memorandum at 4. For the events of January 6, he travelled to D.C.
with two other men. Id. He had recruited these men to join him. Id. at 9. When he came
to D.C. for the events of January 6, he carried, among other things, gas masks and military
food rations for himself and his two companions. Id. at 4. He also carried a police-baton-

like stick. Id. While just outside the Capitol on January 6, just prior to the initial breach of
the building, Mr. Robertson took up a position at the front of crowd to block Metropolitan

Police Department (MPD) Officers who were coming to reinforce U.S. Capitol Police
Officers who were then actively engaged in preventing rioters from gaining access to the
Upper West Terrace and thus to the building itself. Id. at 5. The crowd was able to repel
the MPD Officers by assaulting them and throwing a smoke grenade at them. Id. When
the officers regrouped and tried to advance again, Mr. Robertson, wearing a gas mask,
stood directly in front of them and “raised up his wooden stick in ‘port arms,’ a tactical
position used by military and law enforcement.” Id. As the officers pushed past him, two
officers were struck by Mr. Robertson’s baton-like stick. Id. At around the same time, the
rioters who were engaged with the U.S. Capitol Police Officers were able to overwhelm

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them and gain access to the Upper West Terrace. Mr. Robertson then joined these rioters
and was with them as they broke out some windows near the Senate Wing door and
breached the building. This was the initial breach of the Capitol. Id. at 6-7. Mr.
Robertson was part of the “first wave” of rioters to enter the building. Id. at 7. Once he

entered the building with the “first wave,” Mr. Robertson proceeded to the Crypt, where he
helped the assembling crowd to overwhelm another police line that had formed there. Id.
at 8. One of the persons who came with Mr. Robertson to D.C. testified against him at
trial. Id. at 4. This person testified that he was with Mr. Robertson in the Crypt and that,
after Mr. Robertson helped the crowd to overrun the police there, he and Mr. Robertson
did not advance further because they believed that they had already done all was that
necessary to insure that the congressional proceeding to certify the Electoral College votes
would be stopped. Id. at 8. Subsequent to January 6, upon being informed that the FBI
had a warrant for his arrest, Mr. Robertson destroyed his phone and the phone of one his
companions to conceal evidence of their criminal activity. Id. at 9. After being charged
and released, Mr. Robertson’s home was searched, and law-enforcement agents recovered
a loaded M4 rifle and a partially-assembled pipe bomb. Possession of both of these items

was a violation of his release conditions. Id. at 10. Law-enforcement also learned that,
after his release, Mr. Robertson had purchased and then transported in interstate commerce

“an arsenal of 34 firearms,” such conduct not only a violation of his release conditions but
also of 18 U.S.C. § 922(n). Id. at 10-11.


                   Comparisons to Other Defendants by Government
       In its sentencing memorandum, the government compares Mr. Bledsoe’s conduct
with that of three other January 6 defendants: Anthony Williams (21-cr-377 (BAH)),
Thomas Robertson (21-cr-34 (CRC)), and Jacob Chansley (21-cr- 03 (RCL)). Gov’t
Memo at 29-31. As Mr. Bledsoe has already noted in his sentencing memorandum, the
conduct engaged in by Mr. Williams was significantly more egregious than the conduct


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that he engaged in. See Defendant’s Memo at 21. Mr. Williams played an instrumental
role in three significant police/rioter altercations. Among other things, Mr. Williams used
bicycle racks as ladders to help other rioters get up onto a staircase outside the Capitol so
that he and those rioters could then charge and overwhelm the police line on the staircase

and thus get access to the building. Once in the Capitol, he went out of his way to seek out
confrontations with the police and led a charge that overwhelmed the police line in the
Crypt. Later, he joined with rioters in the Rotunda to actively resist and physically push
back on police officers who were trying to clear that room. See id.2 Mr. Williams
received a 60-month sentence. Mr. Bledsoe should be given a sentence that is less than
that.
         As far as Mr. Robertson goes, as noted above, supra at 6-7, his conduct was also
significantly more egregious than Mr. Bledsoe’s—by quite a bit. The government does not
appear to deny that Mr. Robertson’s conduct was more egregious than Mr. Bledsoe’s, and
indeed, it acknowledges that Mr. Robertson was involved in two significant confrontations
with police. Gov’t Memo at 30. Nevertheless, in an apparent attempt to make the 70-
month sentence it is seeking for Mr. Bledsoe seem compatible with the 87-month sentence

that Mr. Robertson was given, the government still downplays Mr. Robertson’s conduct by
failing to acknowledge a great deal about it Compare supra at 6-7 with Gov’t Memo at 30.

Among other things, the government fails to mention that he recruited two others to come
with him from Virginia to storm the Capitol on January 6 and that he brought provisions
for them to do so. Also, it fails to indicate how he assumed a leadership role in
confronting and repelling MPD Officers who were attempting to reinforce the U.S. Capitol
Police Officers who were trying to prevent rioters from gaining access to the Upper West
Terrace and thus the Capitol building itself. And it fails to mention how, after the MPD


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  It should also be noted that Mr. Williams came to D.C. for January 6 with a group of friends and that, on
January 6, he and his friends marched together to the Capitol. See Government’s Sentencing Memorandum
for Mr. Williams (ECF #120) at 10.


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officers regrouped, Mr. Robertson, donning a gas masks and brandishing his baton-like
stick, used his military and police training to further delay those officers from reinforcing
the Capitol Police Officers. The government also fails to mention how these actions along
with other actions that Mr. Robertson undertook played an instrumental role in helping to

bring about the initial breach of the Capitol on January 6. Moreover, it fails to
acknowledge that, after January 6, Mr. Robertson destroyed evidence when he learned that
the FBI had a warrant for his arrest. Additionally, the government strains to compare Mr.
Bledsoe’s conduct with Mr. Robertson’s conduct. For instance, the government notes that
both Mr. Bledsoe have violated their release conditions. Id. at 30. In doing this, the
government is seemingly making reference to the fact that, on one occasion during the 20
months he has been on release, Mr. Bledsoe got into a plastic wading pool with his
daughter while wearing a specially designed waterproof boot over his ankle bracelet and to
the fact that, on another occasion, he became argumentative with a Probation Officer who
contacted him about upcoming travel plans. See Gov’t Memo at 24; Defendant’s Memo at
12. Mr. Robertson, on the other hand, violated his conditions of release by possessing an
M4 rifle and partially assembled pipe bomb and by purchasing and then transporting in

interstate commerce “an arsenal of 34 firearms.” See supra at 7. The sentence that Mr.
Bledsoe is given should be considerably less than the sentence given to Mr. Robertson.

       Finally, in regards to Jacob Chansley, the government appears to argue that the 41-
month sentence given to Mr. Chansley would not be appropriate for Mr. Bledsoe because,
unlike Mr. Chansley, “Mr. Bledsoe has not accepted responsibility for his actions.” Gov’t
Memo at 31. However, apart from acknowledging that Mr. Chansley went onto the
Senate floor and left a threatening note for Vice President Pence, Gov’t Memo at 31, the
government does not recognize any of the other important ways that Mr. Chansley’s
conduct is more serious than Mr. Bledsoe’s, including the ways in which Mr. Chansley
assumed a leadership and instigator role in storming the Capitol both before January 6 and
on it. According to the Government’s Memorandum in Aid of Sentencing for Mr.

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Chansley (ECF #81) (Chansley Sentencing Memo), prior to January 6, Mr. Chansley had
“accrued thousands of followers across several [social media] platforms, including
Facebook, Rumble, Parler, and YouTube.” Chansley Sentencing Memo at 5. In the lead-
up to January 6, Mr. Chansley “used his social media presence to spread the type of false

information and hateful rhetoric that led thousands of rioters to descend on the U.S.
Capitol on January 6, 2021.” Id. He advocated for violence. For instance, he posted to
Facebook, “We shall have no real hope to survive the enemies arrayed against us until we
hang the traitors lurking among us.” Id. On January 6, Mr. Chansley was among the
rioters to first approach the police line on the west side of the building. He then climbed
the nearby media-tower scaffolding. Id. He “was dressed in a Viking hat with fur and
horns, was shirtless, wearing red, white, and blue face paint, and carrying an American flag
tied to a pole with a spear at the tip and a bullhorn.” Id. When the first rioters
overwhelmed the police line, Mr. Chansley was able to use the scaffolding to join them on
stairs leading up to Upper West Terrace. He then helped them push past another police
line and gain access to the Upper West Terrace. Id. at 6. Mr. Chansley was present when
two other rioters broke through windows near the Senate Wing door and breached the

building. This was the initial breach of the building. Mr. Chansley entered the building
within a minute of these two rioters and “was among the first 30 rioters inside the U.S.

Capitol building on [January 6].” Id. at 7. Once inside the building, Mr. Chansley
proceeded towards the Senate. In a “clearing” of some sort, he and other rioters
encountered a line of police officers who instructed them to leave the building. Not only
did he disregard this order, but he also began “using his bullhorn to rile up the crowd and
demand that lawmakers be brought out.” Id. at 8. He then went up a flight of stairs and
was able to enter the Senate Gallery. At that point, he began to “scream obscenities in the
Gallery, including ‘time’s up motherfuckers,’ while other rioters flooded the chamber
below.” Id. at 9-10. He then went back down the stairs and entered onto the Senate floor.
Id. at 10. Once on the floor of the Senate, he proceeded to the dais and took the seat of

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Vice President Mike Pence. Id. A police officer who was present told him to vacate the
seat, but he refused, stating, “Mike Pence is a fucking traitor.” While still in Mike Pence’s
seat, he wrote a note on some paper that read, “It’s only a matter of Time. Justice is
Coming!” Id. at 10-11. Disregarding the officer’s continuing orders to vacate the seat and

leave the chamber, Mr. Chansley began “calling other rioters up to the dais and leading
them in an incantation over his bullhorn.” Id. at 11. At some point, additional police
officers arrived, and Mr. Chansley was “escorted” from the building. Id. at 12. He had
been inside the building for approximately one hour at this point. Id. Mr. Bledsoe should
be given a sentence that is less than Mr. Chansley’s.


                                        Conclusion


       WHEREFORE the defendant, Matthew Bledsoe, responds to the Government’s

Sentencing Memorandum.

                                              Respectfully submitted,

                                              ____/s/____________
                                              Jerry Ray Smith, Jr.
                                              D.C. Bar No. 448699
                                              Counsel for Matthew Bledsoe
                                              717 D Street, N.W.
                                              Suite 310
                                              Washington, DC 20004
                                              E-mail: jerryraysmith@verizon.net
                                              Phone: (202) 347-6101




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